 

Case 7:20-mj-00310 Document 1 Filed on 02/04/20 in TXSD Page 1 of 2

AO 91 (Rev. 08/09) Criminal Complaint

 

UNITED STATES DISTRICT COURT — “em pigsfteriowss
for the FEB _ 4 079

Southern District of Texas

David J. Bradley, Cleric

 

United States of America )
y, )
Lizeth MUSTAFAT-Gonzalez -270-0310-NA
YOB: 1983 Citizenship"Mexico Case No, AA
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of February 03, 2020 ’ in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 U.S.C. § 952 Did knowingly and intentionally import into the United States approximately

78.7 kilograms of methamphetamine, a schedule II controlled substances, from
the United Mexican States.

This criminal complaint is based on these facts:
SEE ATTACHMENT A

¥ Continued on the attached sheet.

Approved Ausa Mt, Wi vel (A ohh.

2/ Y / 2 O CompKainant ’s signature

Jesus R. Cuellar , HS! Task Force Officer
Printed name and title

Sworn to before me and signed in my presence.

Date: 2/4/2020 ESF aan | JO $ Or -G

Judge’s signature

 

City and state: _McAllen, Texas U.S. Magistrate Peter E. Ormsby
Printed name and title
 

Case 7:20-mj-00310 Document 1 Filed on 02/04/20 in TXSD Page 2 of 2

ATTACHMENT A

On February 03, 2020, Lizeth MUSTAFAT-GONZALEZ made entry into the United
States through the Anzalduas Port of Entry in Mission, Texas from Mexico driving a
2001 Ford Expedition.

During primary inspection, a Customs and Border Protection (CPB) canine alerted to
the outside undercarriage of the vehicle.

During secondary inspection, CBP Officers scanned the vehicle using a Z-Portal/X-Ray
machine. Officers observed anomalies in the fuel tank. Officers utilized a scope to
inspect the interior of the fuel tank and observed a non-factory wall and compartment
within the fuel tank. Officers extracted approximately 76.7 kilograms of a liquid
substance which field tested positive for methamphetamine from within the non-factory
compartment of the fuel tank. Officers observed the non-factory compartment of the fuel
tank taking up a large portion of the fuel tank, therein reducing the amount of space
available for the vehicles fuel.

Homeland Security Investigation Task Force Officer (HSI TFO) interviewed
MUSTAFAT-GONZALEZ. She stated that she is the registered owner of the vehicle and
that she is the only one that drives the vehicle. MUSTAFAT-GONZALEZ stated that she
purchased the vehicle from an unknown individual in Reynosa, Mexico. She stated that
she went to a government office to register the vehicle under name after she bought the
vehicle. MUSTAFAT-GONZALEZ then recanted her statement and stated that it was

‘ another individual that registered the vehicle for her.

_ Upon further investigation of MUSTAFAT-GONZALEZ’s border crossing history it
‘ revealed she has crossed into the United States from Mexico in the same 2001 Ford.
Expedition a total of three (3) times since January 17, 2020.
